                                                                                           E-FILED IN OFFICE - NV
                Case 1:21-cv-00856-AT Document 1-1 Filed 03/01/21 Page 1 of 46CLERK OF SUPERIOR COURT
                                                                                      GWINNETT COUNTY, GEORGIA
                                                                                                21-A-00667-8
                         IN THE SUPERIOR COURT OF GWINNETT COUNTY                          1/28/2021 6:07 PM

                                             STATE OF GEORGIA
                                                                                       CLERK OF SUPERIOR COURT

The City of Roswell, Georgia______________

_______________________________________
                                                                     CIVIL ACTION   21-A-00667-8
                                                                     NUMBER:

                              PLAINTIFF


                   VS.

_Argonaut Great Central Insurance Company
 ______________________________________

 and Colony Specialty Insurance Company




    Richard L. Robbins and Catherine C. Berenato
    Robbins Ross Alloy Belinfante Littlefield LLC
    500 14th Street, N.W.
    Atlanta, Georgia 30318
    (678) 701-9381


      28                        JANUARY                         21
                     Case 1:21-cv-00856-AT Document 1-1 Filed 03/01/21 Page 2 of 46




                                                                                                                        HZC / ALL
                                                                                                     Transmittal Number: 22683631
Notice of Service of Process                                                                            Date Processed: 01/29/2021

Primary Contact:           Audrey Richards
                           Argo Group US, Inc.
                           175 E Houston St
                           Ste 1300
                           San Antonio, TX 78205-2265

Electronic copy provided to:                   Esequiel Contreras
                                               Heather Gmyrek

Entity:                                       Argonaut Great Central Insurance Company
                                              Entity ID Number 3655974
Entity Served:                                Argonaut Great Central Insurance Company
Title of Action:                              The City of Roswell, Georgia vs. Argonaut Great Central Insurance Company
Matter Name/ID:                               The City of Roswell, Georgia vs. Argonaut Great Central Insurance Company
                                              (10909247)
Document(s) Type:                             Summons/Complaint
Nature of Action:                             Contract
Court/Agency:                                 Gwinnett County Superior Court, GA
Case/Reference No:                            21-A-00667-8
Jurisdiction Served:                          Georgia
Date Served on CSC:                           01/29/2021
Answer or Appearance Due:                     30 Days
Originally Served On:                         CSC
How Served:                                   Personal Service
Sender Information:                           Richard L. Robbins
                                              678-701-9381

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constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com
                       Case 1:21-cv-00856-AT Document 1-1 Filed 03/01/21 Page 3 of 46CLERK OF SUPERIOR COUF
e          '                                                                                                 GWINNETT COUNTY, GEORG
                                IN THE SUPERIOR COURT OF GVVINNETT COUNTY                                                 21 -A-00667-
                                                                                                                     1/28/2021 6:07 PI

                                                      STATE OF GEORGIA
     The City of Roswell, Georgia                                                                  J4"'&E         RI~OF




                                                                                         CIVIL ACTION      21 -A-00667-8
                                                                                         NUMBER:

                                       PLAINTIFF


                          VS.
    _Argonaut Great Central Insurance Company




                                       DEFENDANT




                                                            SUMVIONS

    TO THE ABOVE NAMED DEFENDANT:

      You are hereby summoned and required to file with the Clerk of said court and se►-ve upon the Plaintiffs attorney, whose name
    and address is:
           Richard L. Robbins and Catherine C. Berenato
           Robbins Ross Alloy Belinfante Littlefield LLC
           500 14th Street, N.W.
           Atlanta, Georgia 30318
           (678) 701-9381
    an answer to the complaint which is herewith served upon you, within 30 days afte►- service of this summons upon you, exclusive of
    the day of service. If you fail to do so, judgment by default will be taken against you for the relief demanded in the complaint.
               28                       JANUARY                                     21
    This                      day of                                          ,    20



                                                                                  Tiana P. Garner
                                                                               Clerk of S erior Court

                                                                                                                 ~
                                                                               B
                                                                                            Deputy Clerk

    INSTRUCTIONS: Attach addendum sheet for additional parties if needed, make notation on this sheet if addendum sheet is used.

    SC-1 Rev. 2011
           Case 1:21-cv-00856-AT Document 1-1 Filed 03/01/21 Page 4 of 46CLERK OF SUPERIOR COUF
                                                                               GWINNETT COUNTY, GEORG
                                                                                         21-A-00667-
                                                                                    1/28/2021 6:07 PI

             IN THE SUPERIOR COURT OF GWINNETT COU                         Y     LER~OF OWJU,,QQ~
                          STATE OF GEORGIA
    THE CITY OF ROSWELL,
    GEORGIA,

         Plaintiff,                                   CIVIL ACTION FILE
                                                              21-A-00667-8
    V.                                               NO.

    ARGONAUT GREAT CENTRAL
    INSURANCE COMPANY AND
    COLONY SPECIALTY INSURANCE                        JURY TRIAL DEMANDED
    COMPANY,

         Defendants.

                                     COMPLAINT
         Plaintiff the City of Roswell ("the City") files this Complaint for damages

against Defendants Argonaut Great Central Insurance Company and Colony

Specialty Insurance Company (collectively, "Argonaut")1 and states as follows:

                                  INTRODUCTION

         This is an insurance coverage dispute of significant impact to the City and its

taxpayers. The City obtained an insurance policy from Argonaut. One of the

buildings covered by the policy was the Roswell-Alpharetta Public Safety Training

Center ("RAPSTC") — a training facility for fire, police, emergency medical



1 Out of an abundance of caution, the City files suit against Colony Specialty
Insurance Company (as well as Argonaut Great Central Insurance Company)
because opposing counsel refers to the insurance company interchangeably as
"Argonaut" and "Colony.". Despite repeated requests, opposing counsel has not
confirmed the identity of the entity liable on the insurance policy at issue.
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professionals and other first responders. In late 2017, a snowstorm hit the RAPSTC

building and damaged the roof, trusses, and other portions of the building.

      After a concerning delay on Argonaut's part, in June 2018 Argonaut finally

provided a scope of work from which contractors were to submit bids for the repairs

to RAPSTC. However, the scope of work was deficient — it only addressed repairs

to the roof and did not include repairs and/or protection that would need to be

provided to much of the RAPSTC's interior. Argonaut did not seek the City's prior

input on the scope of work.

      Two main contractors submitted bids for the repairs based on the scope.

Choate Construction Company ("Choate"), after a cursory inspection of the building,

submitted a low bid, but its estimate did not include all of the needed interior work.

Turner Construction Company ("Turner") submitted a higher bid, but it included all

of the appropriate work.      Turner was very familiar with the building having

performed the earlier shoring work on it. Certain other contractors would not even

bid based on the scope of work due to how limited it was. After yet more delay on

Argonaut's part and after inuch had already been spent on rental space to house the

RAPSTC employees while their building was not yet repaired, the City decided to

select Turner to do the repairs. The insurance policy does not require an insured to

select the lowest bidder or to use only a contractor approved by the insurer.




                                         IPA
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         Tuiner completed the work in June 2020. The construction projects, along

with all of the extra expenses (such as leasing a temporary space, storing equipinent,

etc.) cost $2,367,576.82. Argonaut has paid only $1,072,007.23. This leaves a

difference due of $1,295,569.59 (The City is not claiming certain expenses that it

agrees Argonaut need not pay).

         It is still not clear why Argonaut has refused to pay the reinaining balance.

The City sent Argonaut hundreds of pages of documents that evidence the expenses

it has had to pay to repair the RAPSTC building. It does not appear that Argonaut

even reviewed these documents. As of July 2020, Argonaut has said only that is

"investigating." Even though the City provided detailed charts of each expense it

incurred (along with the backup documentation), Argonaut apparently has not gone

through the charts, let alone the documents, to indicate what it will and will not

cover.

         While Argonaut has generally communicated that it does not wish to cover

the reinaining expenses, it has not provided a detailed denial-of-coverage letter such

that the City has had to guess which provisions of the policy Argonaut is invoking.

Argonaut's actions have not only served to waive any defenses it may have, such

actions also demonstrate bad faith. This entitles the City not only to the amount

outstanding ($1,295,569.59), but also attorneys' fees, expenses, and a 50 percent




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penalty, for a total of at least $1,943,354.38 (plus attorneys' fees and expenses).

O.C.G.A. § 33-4-6.

                   PARTIES, JURISDICTION, AND VENUE

                                        1.

      The City of Roswell is a city in Fulton County, Georgia.

                                        2.

      Argonaut Great Central Insurance Company, which does business in Georgia,

is an Illinois insurance coinpany with a principal office in San Antonia, Texas, and

a registered agent located in Gwinnett County at 40 Technology Pkwy South, #300,

Norcross, Georgia, 30092.

                                        3.

      Colony Specialty Insurance Company, which does business in Georgia, is an

insurance company with a principal office in Richmond, Virginia, and a registered

agent located in Gwinnett County at 40 Technology Pkwy South, #300, Norcross,

Georgia, 30092.

                                        if

      The parties to this case are subject to the jurisdiction of this Court.

                                        5.

      This Court is a proper venue for this inatter.




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                                  THE POLICY

                                       6.

      Argonaut provided coverage to the City under a Commercial Property policy

(the "Policy") numbered PE-46217875-08. Certain portions of the lengthy Policy

are attached as Exhibit A.

                                       7.

      The Policy covered the period when RAPSTC was damaged. [Ex. A at 1].

                                       .1

      The Policy covered the RAPSTC building (Building 14 under the Policy).

[Ex. A at 2].

                                       a
      Per Argonaut, the Policy's tenns included: a limit of liability of $1,450,800

with a 125% inargin clause, for a limit of liability of $2,307,250 plus extra expense.

The deductible was $10,000. [Exhibit B].

                                       10.

      The Policy states: "[Argonaut] will pay for direct physical loss of or damage

to Covered Property at the premises described in the Declarations caused by or

resulting from any Covered Cause of Loss." [Ex. A at 3]. RAPSTC was listed in the

Declarations as a Covered Property. [Ex. A at 2].




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                                       11.

      It also states:

             [Argonaut] will pay for direct physical loss or dainage to
             Covered Property, caused by collapse of a building or any
             pai-t of a building insured under this Coverage Form, if the
             collapse is caused by [weight of snow] ... If the collapse
             occurs after construction, remodeling or renovation is
             complete and is caused in part by [weight of snow]
             [Argonaut] will pay for the loss or damage even if use of
             defective material or methods, in construction, remodeling
             or renovation, contributes to the collapse.

             [Ex. A at 7].

                                       12.

      The Policy provides that Argonaut will pay for certain constrt.iction

necessitated by the need to comply witli certain laws like building, zoning or land

use ordinances or law. [Ex. A at 5].

                                       13.

      It also provides that Argonaut will pay for extra expense and loss of business

income as a result of a covered loss. [See Ex. A at 6].

                               THE SNOW EVENT

                                       14.

      On December 8, 2017, an unexpectedly large snowstorm hit the City and

damaged the RAPSTC building.




                                         ~
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                                        15.

      When RAPSTC employees entered the building the next week, they found

drywall chips on the floor and soon realized that the roof had partially collapsed

under the weight of the snow.

                                        16.

      Due to the dangerous condition, the building was evacuated.

                                         17.

      Shortly after, the City's Deputy Fire Chief contacted an architectural firm and

a sti-uctural engineer to determine needed repairs.

                                 SHORING WORK



      The engineers determined that RAPSTC would need to be shored to

temporarily support the building.

                                         19.

      It was also determined that there was a defect in the roof ti-usses caused by

faulty assembly that in-part caused the joints in the trusses to fail when the snow fell.

                                         20.

      Argonaut does not dispute that the damage to the roof and trusses is damage

the Policy covers.




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                                          21.

      The City contacted Turner, a trusted contractor, to meet with it and the

architects to discuss the shoring work.

                                          22.

      Right after the damage was discovered, the City also notified Argonaut about

the event, and an adjuster was assigned to the claim.

                                          23.

      After discussions regarding the shoring, Argonaut issued its first check to the

City for a$35,000 advance in December 2017.

                                          24.

      After much back and forth between the City and Argonaut's engineer, the City

and Turner entered into a shoring contract in January 2018 because the shoring

needed to be done right away.

                                          25.

      Shortly thereafter, Argonaut issued another check to the City for $98,808 (an

advance for relocating, rent, demolition, and ceiling removal).

                                          26.

      Once the shoring was underway, in February of 2018 the RAPSTC employees

had to move into a rental building and were working without internet, printers, and

other necessities.
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                                          27.

         Additionally, the training equipment had to be removed from the RAPSTC

building and stored for safekeeping.

                                          28.

         The City was required to pay rent for the leased building and the storage, along

with other extra expenses.

                                  SCOPE AND BIDS

                                          29.

         In February 2018, Turner completed the shoring work, which was approved

by Argonaut's engineer.

                                          30.

         The next work inch.ided the actual repairs to the RAPSTC building — the

shoring merely stabilized the structure.

                                          31.

         Around this time, for some reason Argonaut switched the adjusters on the

claim.

                                          32.

         In Febi-uary 2018, even though the City was working on getting the scope

itself, Argonaut's adjuster told the City during a ineeting that he would be providing

a scope of work so that the City could solicit bids for the remaining work.



                                           us
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                                        33.

      In the meantime, Argonaut issued two other checks to the City — one for

$613,402.99 (building coverage) and one for $30,021 (extra expense).

                                        34.

      In March 2018, the City emailed Argonaut to point out that the work on the

RAPSTC building had stalled because Argonaut had not yet provided a scope of

work such that the City could not get any bids on the actual repairs.

                                        35.

      A month later, Argonaut told the City it was going to get a scope of work from

Wiss, Janney, Elstner Associates, Inc. ("WJE") and that the scope only related to

removing and replacing the roof.

                                        36.

      When the City expressed some frustration with the project's delay, the

adjuster curtly retorted that "It is the responsibility of City of Roswell to present

their claim ... We will not effect the repairs."

                                        37.

      Months went by with no scope of work from Argoiiaut, such that the City

continued to wait until it could send the scope to contractors to obtain bids for the

remainder of the work.




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                                        i:

      All the while, RAPSTC employees were working without internet in their

temporary location, and rent accrued.

                                        39.

      Finally, in early June 2018, Argonaut sent the City the scope of work it

procured from WJE.

                                        m
      However, the WJE scope only addressed repairs to the roof of the RAPSTC

building; it did not include work that, as a result of the snow event, would need to

be done to, among other things, parts of RAPSTC's interior such as the piping,

floors, HVAC, drywall, sprinkler system, ceiling, lighting, and other systems (the

"additional work").

                                        41.

      In any event, as this was the only scope of work that Argonaut had provided,

it was sent to several contractors in order to receive bids for the repair work.

                                        42.

      First, Choate provided a bid for the repairs, which totaled $967,866. This bid

did not include all of the needed additional work.




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                                       43.

      Second, Turner provided a bid for $1,834,178, and it did contemplate the

additional work in its bid — it had to in to order to limit its risk and because such

work would have to be done.

                                       44.

      At this point, it became clear that Argonaut wanted the City to hire Choate for

the job due to its lower bid.

                                       45.

      The City wanted Turner to do the job because Turner accounted for all the

work that would actually have to be done to the RAPSTC, not just removing and

replacing of the roof.

     THE INSURER/INSURED DISCUSSIONS ARE UNPRODUCTIVE
               AND THE CITY MOVES FORWARD

                                       m
      After an agreement could not be reached between the City and Argonaut

regarding which construction company to use, the City requested additional bids.




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                                          47.

       One contractor provided a bid for $946,532, which also only addressed the

roof replacement and removal.



       That contractor, though, told the City the additional work would have to be

addressed at some point with a change order.

                                          49.

       Another contractor responded to the scope to indicate that it was too vague

and liinited for them to provide a bid.

                                          50.

       Yet another said the saine.

                                          51.

       Shortly after the bids were received and a back and forth between the parties,

Argonaut's adjuster emailed the City in August 2018 to say, "[Argonaut] is not

repairing your building," which signaled to the City that it could proceed with the

repairs as it saw fit.

                                          52.

       A few months went by of working with engineers to determine if the building

was structurally sound enough to talce on the construction, and it was determined

that it was.



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                                        53.

      In March 2019, Argonaut issued another check to the City for $46,617.23 for

extra expense.

                                        RE'l

      In March 2019, Turner (the City's preferred contractor based on its bid) and

the City entered into a consti-uction contract for the rebuild proj ect, and Turner was

finally able to begin repairing RAPSTC.

                                        55.

      Argonaut was aware of this, and finally consti-uction began on the repairs with

Turner at the helm.

                                        56.

      Months later, the City received a letter from Argonaut, which, inter alicz,

expressed his discontent that Turner had been chosen to contract with the City; that

certain mold work Turner was doing was not related to the snow event; and that the

WJE scope of work did not cover the additional work Turner was doing.

                                        57.

      This was despite the fact that the City was free to choose whomever it wished

to coinplete the construction; that the City agreed that Argonaut was not responsible

for certain mold work; and that any contractor who worked on the RAPSTC building




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repair would have had to eventually address the additional work — despite the fact

that the initial WJE scope did not include the additional work.

                                       58.

      The dispute triggered an informal attempt for Argonatit and the City to come

to an agreement and resolve their differences.

                                       59.

      Due to the discontent between the City and Argonaut, both decided to enter

into a tolling agreement that tolled the time period by which the City had to bring a

legal claim against Argonaut — the period is now extended until January 31, 2021.



      By January 2020, Tunler was nearing completion of the RAPSTC repairs.

                                       61.

      However, in Febi-uary of 2020, the City received another letter from Argonaut

that again stated, inter alia, that it was displeased that the City chose Turiier over

Choate, and that even though the City chose Turner, Argonaut's payinents to the

City were only based on the Choate bid.

                                       62.

      Argonaut also argued that the City did not competitively bid the project (even

though it sent out WJE's scope for several bids and competitive bidding was not a




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requirement under the Policy), and it asked for additional information regarding the

project costs from the City.

                                        63.

      In conjunction with the letter, Argonaut issued another check to the City for

$248,158.01 for the construction. This was the last check Argonaut issued.

           THE BUILDING IS COMPLETED AND DISCUSSIONS
          AGAIN DO NOT RESOLVE THE COVERAGE DISPUTE

                                       .~

      In June 2020 (two and a half years after the snow event and after much back

and forth with Argonaut), the RAPSTC building was finally repaired.

                                       65.

      Shortly after, on July 14, 2020, Argonaut again wrote to the City, saying that

it understood that the RAPSTC building was repaired; and reminding the City that

Argonaut only had been inaking payments to the City based off of the Choate bid.

This letter is attached hereto as Exhibit B.



      It noted that the payments have already exceeded that Choate estimate.

                                       67.

      It also asked for a detailed accounting and support for all outstanding costs

that the City believed it was owed.




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                                        W

      The letter stated that "Argonaut continues in its investigation of the claim,"

despite the fact that RAPSTC had been damaged nearly three years prior.



      In a prompt response, the City mailed Argonaut a letter that provided hundreds

of pages of documentary support for all of the City's costs incurred as a result of the

snow event.

                                        70.

      In that letter, the City noted that the total loss was $2,367,576.82; that

Argonaut had paid the City $1,072,007.23; and that there was an outstanding balance

of $1,295,569.59. The City specifically excluded costs for certain work that the City

agreed was not covered by the Policy. The City also asked that Argonaut's payinent

to the City be made by the end of July 2020.

                                        71.

      Even though the City provided detailed charts of each expense it incurred

(along with the backup documentation), Argonaut apparently has not gone through

the charts, let alone the documents, to indicate what it will and will not cover.




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                                       72.

      In fact, Argonaut did not follow up with the City regarding this letter, and it

has never provided a detailed denial-of-coverage letter such that the City has had to

guess which provisions of the Policy Argonaut is invoking to shield it from liability.

                                       73.

       In October 2020, the City sent another letter as a follow up to their prior one,

noting that Argonaut was refusing to pay the City in bad faith and demanding that

Argonaut pay the outstanding amount.

                                       7123

      Despite this, Argonaut has not paid the full amount due to the City to this day,

without even a review of the records supporting its claim and without a denial letter.

                                       75.

      Argonaut's actions have not only served to waive any defenses it may have

thought to bring under the Policy, its actions also have been in bad faith, which

entitles the City not only to the amount outstanding, but also to attorneys' fees and

50 percent of Argonaut's liability.

                     COUNT I: BREACH OF CONTRACT

                                       76.

      The City incorporates by reference the allegations contained in paragraphs 1

through 75 of this Complaint as though fully set forth herein.



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                                       77.

      Argonaut entered into an agreement with the City via the Policy.

                                        :

      The Policy covers the loss the City claiins.

                                       79.

      The City complied with Argonaut's various requests and with the Policy.

                                       :1

      Argonaut breached the Policy by not paying the City the costs it incurred to

repair the RAPSTC building, even though the costs the City seeks are covered costs.

                                       81.

      Argonaut's breach of the Policy proximately caused the City to suffer

damages in an amount to be determined at trial.

           COUNT II: BAD FAITH FAILURE TO PAY THE LOSS




      The City incorporates by reference the allegations contained in paragraphs 1

through 81 of this Complaint as though fully set forth herein.



      Argonaut entered into an agreement with the City via the Policy.



      The Policy covered the loss the City claims.


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                                       85.

      The City sent a demand to Argonaut to pay the outstanding amount

Argonaut owed to the City under the Policy, pursuant to O.C.G.A. § 33-4-6.

                                       :.

      Argonaut failed to pay the City the demanded amount, which was in bad faith

because the City: complied with the Policy and Argonaut's requests; provided

Argonaut with hundreds of pages of docuinentation for the expenses it incuned;

requested payment several times from Argonaut; and was never given a legitimate

reason for the refusal froin Argonaut. It appears Argonaut has not even reviewed

the documentation the City provided.

                                       87.

      There was no good cause for Argonaut to fail to pay the City.



      The City is entitled to receive paymeiit for the loss it incurred due to the

dainage of the RAPSTC building, plus 50 percent of the liability of Argonaut for the

loss, plus all reasonable attorney's fees for the prosecution of the action against

Argonaut.




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     COUNT III: ATTORNEYS' FEES AND EXPENSES OF LITIGATION

                                         :•

       The City incorporates by reference the allegations contained in paragraphs 1

through 88 of this Complaint as though fully set fortli herein.

                                         m
       Argonaut has acted in bad faith, has been stubbornly litigious, and has caused

the City to incur ttnnecessary trouble and expenses, within the ineaning of O.C.G.A.

§ 13-6-11. Accordingly, Argonaut is liable for the City's attorneys' fees and

expenses of litigation.

                                         91.

      Additionally, as noted, pursuant to O.C.G.A. § 33-4-6, the City may recover

its reasonable expenses, including reasonable attorneys' fees, if a finding is inade

(as it should be) that Argonaut refused, in bad faith to pay the City's loss that resulted

due to the damage to the RAPSTC building.

                              PRAYER FOR RELIEF

      The City prays that judgment be entered in its favor against Argonaut and

prays for the following relief:

      (a)    That the City be awarded cornpensatory damages against Argonaut in

             an amount to be detennined at trial;




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   (b)   That the City be awarded reasonable expenses, inchiding reasonable

         attorneys' fees for pursuing this action against Argonaut;

   (e)   That the City be awarded all remedies authorized by law; and

   (d)   That the City be awarded any other relief that the Court deems just and

         proper.

                             JURY DEMAND
   The City hereby demands a trial by juiy on all claiins triable.

Respectfully submitted this 28th day of Januaiy 2021.

                                /s/Richard L. Robbins
                                Richard L. Robbins
                                Georgia Bar No. 608030
                                rrobbins@robbinsfirm.com
                                Catherine C. Berenato
                                Georgia Bar No. 957620
                                eberenato@robbinsfirm.com
                                Robbins Ross Alloy Belinfante Littlefield LLC
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                                Atlanta, GA 30318
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                                Facsimile: (404) 856-3255

                                Attorneys for Plaintiff




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                       Exhibit A
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    I
        )COMMERCIAL PROPERTY COVERAGE PART DECLARATIONS

                  Policy No. PE-4617875-08                                   Renewal of: PE-4617875-07


                  NAMED INSURED:

                  City of Roswell, Georgia
                  38 Hill Street, Suite G-60
                  Roswell, GA 30075

        ITEM 1. POLICY PERIOD:
                    FROM: 05/01/2017             TO: 05/01/2018
                    12:01 A.M. standard time at your mailing address shown above.



        ITEM 2.     LIMITS OF INSURANCE:


                    $176,647,759 BLANKET LIMIT OF INSURANCE. HOWEVER, WE WILL NOT PAY MORE
                    THAN 125% OF THE APPLICABLE BUILDING LIMIT OF I!NSURANCE OR PERSONAL
                    PROPERTY LIMIT OF INSURANCE SHOWN IN THE SUPPLEMENTAL DECLARATIONS
                    IN ANY ONE OCCURRENCE.



        ITEM 3.     FORMS AND ENDORSEMENTS CONTAINED IN THIS POLICY AT ITS INCEPTION:



                    SEE POLICY FORMS LIST




        ITEM 4.     TOTAL PREMIUM: $188,115




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    PREM #       Qcdupabby                               Address                           Const.
      13         Fire Station #6                         825 CoX Road                    1, Frame
    BLDG:#       BLtildinb Liinitof   Insurance           Personal Property Limit of .Covera e
       1         $1,556,200                              $164,000
                 Caiise of Loss         Co Insurance Percenta e
                 S ecial                90
                 V.alue O'tion          Deductible.      Mort a e
                 RC                     $10,000          No
                 A reed. Value Ex      iration Date      Inflation
                                                         3         Guard. %



                                                                                                    _--
    PREM #       Occupancy                               Address                        Const.
                 Maxwell _Street Police. Fire Training - 11565 Maxwell Road.              NC
       14
                 Public Safdty Buiidin
    BLQG #       Building Limit of insurance             Personai Property Limit of Covera e
      1          $1;845,800                              $401:,000
                 Cause of Loss        Co Insurance Percenta `e
                 S ecial              9.0
                 Value O tion         Ded`uctibte        Mort a e,
                 RC                   $10,000            No
                 A reed Value Ex iration Date            Inflation Guard %
                                                         3


    PREM #         Occu anc                               Address                        Const.
                   Maxwell Street-Police Fire Trairiing-. 11565 Maxweil Road              NC
       14
                   Fire fraini.ng Bum Buildin
    BLDG #         1301ding Limit.of lnsurance            Personai Property Limit.of Covera e
      2            $402;293                               $318.,270
                   C_ause of Loss.     Co Insurance Percenta e
                   S ecial             90
                   Value O tion        Dedtictible        Mort a e
                 . RC                  $10,000            No
                   A reed Value'Ex iration.Date           lnflation Guard %
                                                          3


    PREM #E       Occupancy                              Address                          Const.
      15          Fire: Station #7                       8025 Holcornb Brid e Road         Frame
    BLDG #        Builldihg Limit.ofi.lnsurance          Personal Pr.o ert . Limit of Govera e
      1           $1;8.71;500 .                          $198000
                  Cause o.f Loss        Co Insurance:Percenta .e
                  S ecial              .90
                  Value O tion:         Deductibie       Mort a e
                  RC,                   $1.0;000         No
                  A reed Value Eic iration Date          Infiation Guard %
                                                         3




CP-SD (0.7/00)                    Argonaut Insurance Group
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                             BUILDING AND PERSONAL
                            PROPERTY COVERAGE FORM

Various provisions in this policy restrict coverage. Read the entire policy carefully to determine rights, duties and
what is and is not covered.
Throughout this policy the words "you" and "your" refer to the Named Insured shown in the Declarations. The
words "we", "us" and "our" refer to the Company providing this insurance.
Other words and phrases that appear in quotation marks have special meaning. Refer to SECTION H— DEFINI-
TIONS.

A. COVERAGE                                                              (b) Materials, equipment, supplies and
   We will pay for direct physical loss of or damage to                       temporary structures, on or within
   Covered Property at the premises described in the                          100 feet of the described premises,
   Declarations caused by or resulting from any Cov-                          used for making additions, altera-
   ered Cause of Loss.                                                        tions or repairs. to the building or
   1. Covered Property                                                        structure.
                                                                   b. Your Business Personal Property located
      Covered Property, as used in this Coverage
                                                                      in or on the building described in the Decla-
      Part, means the type of property described in
                                                                      rations or in the open (or in a vehicle) within
      this section, A.1., and limited in A.2., Property
                                                                      100 feet of the described premises, consist-
      Not Covered, if a Limit of Insurance is shown in
                                                                      ing of the following unless otherwise speci-
      the Declarations for that type of property.
                                                                      fied in the Declarations or on the Your
      a. Building, meaning the building or structure                  Business Personal Property — Separation of
          described in the Declarations, including:                   Coverage form:
         (1) Completed additions;                                    (1) Furniture and fixtures;
         (2) Fixtures, including outdoor fixtures;                   (2) Machinery and equipment;
         (3) Permanently installed:                                  (3) "Stock";
             (a) Machinery and                                       (4) AII other personal property owned by
             (b) Equipment;                                               you and used in your business;
         (4) Personal property owned by you that is                  (5) Labor, materials or services furnished or
              used to maintain or service the building                    arranged by you on personal property of
              or structure or its premises, including:                    others;
             (a) Fire extinguishing equipment;                       (6) Your use interest as tenant in improve-
                                                                          ments and betterments. Improvements
            (b) Outdoor furniture;                                        and betterments are fixtures, alterations,
            (c) Floor coverings; and                                      installations or additions:
            (d) Appliances used for refrigerating,                       (a) Made a part of the building or struc-
                  ventilating, cooking, dishwashing or                        ture you occupy but do not own; and
                  laundering;                                            (b) You acquired or made at your ex-
         (5) If not covered by other insurance:                               pense but cannot legally remove;
            (a) Additions under construction, altera-                (7) Leased personal property for which you
                  tions and repairs to the building or                    have a contractual responsibility to in-
                  structure;                                              sure, unless otherwise provided for un-
                                                                          der Personal Property of Others.




CP 00 10 06 95 TIS                            Argonaut Group, Inc.                                    Page 1 of 11      O
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          2. Debris Removal; but if:
                                                                    Example No. 2:
              a. The sum of direct physical loss or damage         (This example, too, assumes there is no coinsur-
                  and debris removal expense exceeds the           ance penalty.)
                  Limit of Insurance; or
                                                                   The Deductible and Limits of Insurance are the
              b. The debris removal expense exceeds the            same as those in Example No. 1.
                  amount payable under the 25% limitation in
                  the Debris Removal Additional Coverage;             Loss to Bldg. 1:     $70,000 (exceeds Limit
                                                                                                      oflnsurance
              we will pay up to an additional $10,000 for
                                                                                                     plus Deductible)
              each location in any one occurrence under the
              Debris Removal Additional Coverage.                    Loss to Bldg. 2:      $90,000 (exceeds Limit
                                                                                                      of Insurance
     D. DEDUCTIBLE
                                                                                                     plus Deductible)
         We will not pay for loss or damage in any one oc-           Loss Payable — Bldg. 1: $60,000 (Limit of
         currence until the amount of loss or damage ex-                                               Insurance)
         ceeds the Deductible shown in the Declarations.             Loss Payable — Bldg. 2: $80,000 (Limit of
         We will then pay the amount of loss or damage in
                                                                                                        Insurance)
         excess of the Deductible, up to the applicable Lim-
         it of Insurance, after any deduction required by the        Total amount of loss payable: $140,000
         Coinsurance condition or the Agreed Value Op-          E. LOSS CONDITIONS
         tional Coverage.                                          The following conditions apply in addition to the
        When the occurrence involves loss to more than             Common Policy Conditions and the Commercial
        one item of Covered Property and more than one             Property Conditions.
        Limit of Insurance applies, the Deductible will re-        1. Abandonment
        duce the total amount of loss payable if loss to at
        least one item is less than the sum of (1) the Limit          There can be no abandonment of any, property
        of Insurance applicable to that item plus (2) the             to us.
        Deductible.                                                2. Appraisal
        Example No.1:                                                 If we and you disagree on the value of the
       (This example assumes there is no coinsurance                  property or the amount of loss, either may
        penalty. )                                                    make written demand for an appraisal of the
                                                                      loss. In this event, each party will select a
                Deductible: $250
                                                                      competent and impartial appraiser. The two
                Limit of Insurance — Bldg. 1:    $60,000              appraisers will select an umpire. If they cannot
                Limit of Insurance — Bldg. 2:    $80,000             agree, either may request that selection be
                Loss to Bldg. 1:                 $60,100             made by a judge of a court having jurisdiction.
                Loss to Bldg. 2:                 $90,000              The appraisers will state separately the value
       The amount of loss to Bldg. 1($60,100) is less                of the property and amount of loss. If they fail
       than the sum ($60,250) of the Limit of Insurance              to agree, they will submit their differences to
       applicable to Bldg. 1 plus the Deductible.                    the umpire. A decision agreed to by any two
                                                                     will be binding. Each party will:
       The Deductible will be subtracted from the amount
       of loss in calculating the loss payable for Bldg. 1:          a. Pay its chosen appraiser; and
                                                                     b. Bear the other expenses of the appraisal
                                                                         and umpire equally.
               $60,100
                — 250                                                If there is an appraisal, we will still retain our
               $59,850 Loss Payable — Bldg                           right to deny the claim.
       The Deductible applies once per occurrence and             3. Duties In The Event Of Loss Or Damage
       therefore is not subtracted in determining the                a. You must see that the following are done in
       amount of loss payable for Bldg. 2. Loss payable                  the event of loss or damage to Covered
       for Bldg. 2 is the Limit of Insurance of $80,000.                 Property:
       Total amount of loss payable: $59,850 + 80,000 =                 (1) Notify the police if a law may have been
       $139, 850                                                             broken.


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                         (ii) Regulates the construction or repair of buildings, or establishes zoning or land use re-
    '                         quirements at the described premises, and

                         (iii) Is in force at the time of loss.

                    (b) Coverage B- Demolition Cost Coverage.

                         If a Covered Cause of Loss occurs to your covered Building property, we will pay the cost to
                         demolish and clear the site of undamaged parts of the properry caused by enforcement of
                         building, zoning or land use ordinance or law.

                         The most we will pay under this extension is $100,000.

                         The COINSURANCE Additional Condition does not apply to Demolition Cost Coverage.

                    (c) Coverage C- Increased Cost of Construction Coverage.

                         If a Covered Cause of Loss occurs to your covered Building property, we will pay for the in-
                         creased cost to repair, rebuild or construct the property caused by enforcement of building,
                         zoning or land use ordinance or law. If the property is repaired or rebuilt, it must be intended
                         for similar occupancy as the current property, unless required by zoning or land use ordi-
                         nance or law.

                         However, we will not pay for the increased cost of construction if the building is not repaired
                         or replaced.

                         The most we will pay under this extension is $100,000.

                         The COINSURANCE Additional Condition does not apply to Increased Cost of Construction.

                (2) We will not pay for the costs associated with the enforcement of any ordinance or law which re-
                    quires any insured or others to test for, monitor, clean up, remove, contain, treat, detoxify or neu-
                    tralize, or in any way respond to, or assess the effects of "pollutants."

                (3) Under Coverage A- Coverage for Loss to the Undamaged Portion of the Building:

                    (a) If the Replacement Cost Coverage Option applies and the property is repaired or replaced,
                        on the same or another premise, we will not pay more for loss or damage to Covered Proper-
                        ty, including loss caused by enforcement of an ordinance or law, than the lesser of.

                        (i) The amount you actually spend to repair, rebuild or reconstruct the building, but not for
                            more than the amount it would cost to restore the building on the same premises and to
                            the same height, floor area, style and comparable quality of the original property insured;
                            or

                        ii) The Limit of Insurance applicable to the Covered Building property.

        (b)      i) If the Replacement Cost Coverage option applies and the Covered Building property is not . re-
        paired or replaced; or
                           ii) If the Replacement Cost Coverage option does not apply:

                            we will not pay more for loss or damage to Covered Property, including loss caused by
                            enforcement of an ordinance or law, than the lesser of.

                        a) The actual cash value of the building at the time of loss; or
J                       b) The Limit of Insurance applicable to the covered Building property.

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               THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                 360 © INCREASED LIMIT OF INSURANCE

This endorsement modifies insurance under the following:

      360 - Additional Coverage Enhancements - Commercial Property

In consideration of the premium charged, it is hereby agreed and understood that the following changes are made to the
coverages indicated with a"® " below:
Additional Premium: $ INCLUDED


               COVERAGE                        ORIGINAL                          REVISED LIMIT               Deductible
                                         LIMIT OF INSURANCE                      OFINSURANCE

 ❑        Accounts Receivable      $ 100,000

 ❑         Building Ordinance      Coverage B-Demolition Cost              Coverage B-Demolition Cost
                                   $100,000                                $                             $
                                   Coverage C-Increased Cost of            Coverage C-Increased Cost
                                   Construction                            of Construction
                                   $100,000                                $                             $

 F-1       Communication           $50,000
           Equipment

  ®        Computer Equipment      $50,000                                 $500,000                      $10,000

  ❑        Detached Signs           $5,000

  ®        Extra Expense and        $100,000                               $1,775,000                    $10,000
           Business income

  ®        Fine Arts                $50,000                                $500,000                      $10,000


  ❑        Money, Securities        Inside Premise  $5,000                 Inside Premise  $             $
           and Stamps               Outside Premise $5,000                 Outside Premise $             $

  ❑        Personal Effect and      Any one employee or volunteer           Any one employee or volun-
           Property of Others       $1,500                                  teer $                       $
                                    Any one occurrence $50,000              Any one occurrence $
                                                                                                         $

  ❑        Property In Transit      $50,000

  ❑        Valuable Papers          $100,000
           and Records

  ❑

  ❑

  ❑




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      d. $250 for stamps, tickets, including lottery          2. If the direct physical loss or damage does not
          tickets held for sale, and letters of credit.          involve collapse of a building or any part of a
                                                                 building, we will pay for loss or damage to
      These special limits are part of, not in addition
                                                                 Covered Property caused by the collapse of
      to, the Limit of Insurance applicable to the
                                                                 personal property only if:
      Covered Property.
                                                                  a. The personal property which collapses is
      This limitation, C.4., does riot apply to Busi-
                                                                      inside a building; and
      ness Income coverage or to Extra Expense
      coverage.                                                  b. The collapse was caused by a cause of
                                                                      loss listed in D.1.a. through D.1.f. above.
   5. We will not pay the cost to repair any defect to
      a system or appliance from which water, other           3. With respect to the following property:
      liquid, powder or molten material escapes. But              a. Outdoor radio or television antennas (in-
      we will pay the cost to repair or replace dam-                  cluding satellite dishes) and their lead-in
      aged parts of fire extinguishing equipment if                   wiring, masts or towers;
      the damage:
                                                                  b. Awnings, gutters and downspouts;
      a. Results in discharge of any substance from
          an automatic fire protection system; or                 c. Yard fixtures;
       b. Is directly caused by freezing.                         d. Outdoor swimming pools;
       However, this limitation does not apply to Busi-           e. Fences;
       ness Income coverage or to Extra Expense                   f. Piers, wharves and docks;
       coverage.                                                  g. Beach or diving platforms or appurte-
D. ADDITIONAL COVERAGE — COLLAPSE                                    nances;
   The term Covered Cause of Loss includes the Ad-                h. Retaining walls; and
   ditional Coverage — Collapse as described and                    i. Walks, roadways and other paved sun`aces;
   limited in D.I. through D.S. below.
                                                                  if the collapse is caused by a cause of loss
   1. We will pay for direct physical loss or damage              listed in D.1.b. through D.1.f., we will pay for
       to Covered Property, caused by collapse of a                loss or damage to that property only if:
       building or any part of a building insured under
       this Coverage Form, if the collapse is caused             • a. Such loss or damage is a direct result of the
       by one or more of the following:                                collapse of a building insured under this
                                                                       Coverage Form; and
        a. The "specified causes of loss" or breakage
           of building glass, all only as insured against          b. The property is Covered Property under this
           in this Coverage Part;                                      Coverage Form.
       b. Hidden decay;                                        4. Collapse does not include settling, cracking,
                                                                   shrinkage, bulging or expansion.
       c. Hidden insect or vermin damage;
                                                               5. This Additional Coverage — Collapse, will not
       d. Weight of people or personal property;                  increase the Limits of Insurance provided in
       e. Weight of rain that collects on a roof;                 this Coverage Part.
       f. Use of defective material or methods in           E. ADDITIONAL COVERAGE EXTENSIONS
          construction, remodeling or renovation if the        1. Property In Transit. This Extension applies
          collapse occurs during the course of the                only to your personal property to which this
          construction, remodeling or renovation.                 form applies.
          However, if the collapse occurs after con-
          struction, remodeling or renovation is com-              a. You may extend the insurance provided by
          plete and is caused in part by a cause of                   this Coverage Part to apply to your person-
          loss listed in D.1.a. through D.1.e., we will               al property (other than property in the care,
          pay for the loss or damage even if use of                   custody or control of your salespersons) in
          defective material or methods, in construc-                 transit more than 100 feet from the de-
          tion, remodeling or renovation, contributes                 scribed premises. Property must be in or on
          to the collapse.                                            a motor vehicle you own, lease or operate
                                                                      while between points in the coverage terri-
                                                                      tory.




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                           Exhibit B
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           1~ARG0                       GROUP
                      Get ! ►vere t.)CC'!h,Tr


         July 14, 2020



         City of Roswell
         Attn: Tony Papoutsis
         1810 Hembree Road
         Alpharetta, GA 30009




         RE:    Insurer:                        Argonaut Great Central ]nsurance Company
                Our Insured:                    City of Roswell
                Policy Number:                  PE 4617875-07
                Policy Term:                    5/1/2017 - 5/ 1/2018
10"~
                Claim Number:                   TNT-0144487
                Date of Loss:                   December 8, 2017



         Dear Mr. Papoutsis:

         I understand that the final repairs are completed and that the City has received occupancy
         following the renovation and improvements elected by the City.

         Argonaut Great Central Insurance Company provides coverage under policy number PE-4617875-
         08, which provides a Limit of Liability of $1,450,800 for Building 14, Premise 1, with a 125%
         Margin Clause for a new Limit of Liability of $2,307,250, plus coverage for Extra Expense.

         To date City of Roswell has been paid a total of $1,072,007.02, which includes $995,369.00 for RCV
         Building damage and $76,638.23 for Extra Expense. A$10,000 Deductible applies. This building
         repair amount reflects the $967,866.00 bid amount by Choate Construction dated June 22, 2018.

         ! would ask thatyou please provide me with a detailed accounting and support for any costs you
         believe remain outstanding and unpaid for review.

         Argonaut continues in its investigation of the claim and requires your Pooperation. As our
         investigation of the claim continues, we may need additional information and may have additional
         questions.
(OPOIN

         P.O. Box 469013 San Antonio, TX 78246 Telephone 210-321-6538
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?0"k,




                    Thank you in advance and I look forward to the information as outlined. I can be reached at (210)
                    321-6538 should you need assistance with this request.

                    Please send the information directly to CommercialClaimrMailOargo;roupus com with the Claim #
                    identified in the "Subject".

                    Argonaut continues to reserve its right under the policy of tnsurance and at law.



                    Sincerely,




                    Argonaut Great Central Insurance Company
/ O*kk




                    Cc: Brandon Hensley, email




/"IIN


                    P.O. Box 469013 San Antonio, TX 78246 Telephone 210-321-6538
                                                                                   E-FILED IN OFFICE - NV
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                                                                     CLERK OF SUPERIOR COURT
                                                                             GWINNETT COUNTY, GEORGIA
                                                                                       21-A-00667-8
                                                                                  1/28/2021 6:07 PM

           IN THE SUPERIOR COURT OF GWINNETT COUNTY                           CLERK OF SUPERIOR COURT
                        STATE OF GEORGIA

 THE CITY OF ROSWELL,                        )
 GEORGIA,                                    )
                                             )
       Plaintiff,                            )       CIVIL ACTION FILE
                                             )               21-A-00667-8
 v.                                                  NO. ________________
                                             )
 ARGONAUT GREAT CENTRAL                      )
 INSURANCE COMPANY AND                       )
 COLONY SPECIALTY INSURANCE                  )       JURY TRIAL DEMANDED
 COMPANY,                                    )
                                             )
       Defendants.                           )

                    PLAINTIFF’S MOTION FOR
            APPOINTMENT OF A SPECIAL PROCESS SERVER

      COMES NOW the above-referenced Plaintiff, pursuant to O.C.G.A. § 9-11-

4(c), and shows this Court that expedited service on the Defendants is necessary

and requests the appointment of a special process server to serve the Defendants

with Summons and Complaint, to Defendants as authorized under the law.

      WHEREFORE, Plaintiff moves this Court for an Order appointing Amy

Ferrero, Christine O’Leary, and/or Katherine Bolling who are agents of Legal Ease

Attorney Services, Inc., and not interested parties to this suit; who are citizens of

the United States and eighteen years of age or older, to serve the Defendants with

process, and to make a return on that service pursuant to O.C.G.A. § 9-11-4(c).
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Respectfully submitted this 28th day of January 2021.

                           /s/ Richard L. Robbins
                           Richard L. Robbins
                           Georgia Bar No. 608030
                           rrobbins@robbinsfirm.com
                           Catherine C. Berenato
                           Georgia Bar No. 957620
                           cberenato@robbinsfirm.com
                           Robbins Ross Alloy Belinfante Littlefield LLC
                           500 14th Street, N.W.
                           Atlanta, GA 30318
                           Telephone: (678) 701-9381
                           Facsimile: (404) 856-3255
                           Attorneys for Plaintiff




                                 -2-
                    Case 1:21-cv-00856-AT Document 1-1 Filed 03/01/21 Page 39 of 46
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                                                                                         GWINNETT COUNTY. GEORG
                                                                                                   21-A-00667-
                                                                                             1/29/2021.12:35 PI

                            IN THE SUPERIOR COURT OF GWINNETT CO
                                         STATE OF GEORGIA
               THE CITY OF ROSWELL,                        )
               GEORGIA,                                    )
                                                           )
                        Plaintiff,                         )      CIVIL ACTION FILE
                                                                        21-A-00667-8
                                                           )
               v.                                                 NO.
                                                           )
               ARGONAUT GREAT CENTRAL                      )
               INSURANCE COMPANY AND                       )
               COLONY SPECIALTY INSURANCE                  )      JURY TRIAL DEMANDED
               COMPANY,                                    )
                                                           )
                        Defendant.                         )

                                                  IPROPSftBSt
                                                     ORDER
                        The Court has considered Plaintiffs Motion for Appointment of a Special

              Process Server, and it appearing appropriate, just, and equitable, it is ORDERED

              that Amy Ferrero, Christine O’Leary, and/or Katherine Bolling, who are agents of

              Legal Ease Attorney Services, Inc., who are citizens of the United States, eighteen

              years of age or older, and who are not interested parties in the above-captioned

              matter, are hereby appointed special agents for service of a Summons and
              Complaint, in this case upon the Defendants.
                                                         1/29/2021
                        SO ORDERED this         day of                   , 2021.



                                                      Judge
                                                      Gwinnett County Superior Court




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               Proposed Order Prepared by:

               A/ Richard L Robbins
               Richard L. Robbins
               Georgia Bar No. 608030
               rrobbins@robbinsfirm.com
               Catherine C. Berenato
               Georgia Bar No. 957620
               cberenato@robbinsfirm.com
               Robbins Ross Alloy Belinfante Littlefield LLC
               500 14th Street, N.W.
               Atlanta, GA 30318
               Telephone: (678)701-9381
               Facsimile: (404) 856-3255
               Attorneys for Plaintiff




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                                                                                         GWINNETT COUNTY. GEORG
                                                                                                    21-A-00667-
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                             IN THE SUPERIOR COURT OF GWINNETT CO ugt&wL
                                                                     r
                                                                           ^
                                                                       CLERK OF SUPERIOR COUF
                                          STATE OF GEORGIA
               THE CITY OF ROSWELL,                        )
               GEORGIA,                                    )
                                                           )
                         Plaintiff,                        )      CIVIL ACTION FILE
                                                                        21-A-Q0667-8
                                                           )
                v.                                                NO.
                                                           )
               ARGONAUT GREAT CENTRAL                      )
               INSURANCE COMPANY AND                       )
               COLONY SPECIALTY INSURANCE                  )      JURY TRIAL DEMANDED
               COMPANY,                                    )
                                                           )
                         Defendant.                        )

                                                  mnopooBDi
                                                     ORDER
                        The Court has considered Plaintiffs Motion for Appointment of a Special

              Process Server, and it appearing appropriate, just, and equitable, it is ORDERED

              that Amy Ferrero, Christine O’Leary, and/or Katherine Bolling, who are agents of

              Legal Ease Attorney Services, Inc., who are citizens of the United States, eighteen

              years of age or older, and who are not interested parties in the above-captioned

              matter, are hereby appointed special agents for service of a Summons and

              Complaint, in this case upon the Defendants.
                                                         1/29/2021
                        SO ORDERED this         day of                  , 2021.




                                                      Judge
                                                      Gwinnett County Superior Court




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                        Case 1:21-cv-00856-AT Document 1-1 Filed 03/01/21 Page 43 of 46




               Proposed Order Prepared by:

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                        Case 1:21-cv-00856-AT Document 1-1 Filed 03/01/21 Page 44 of 46
                                                                                      CLERK OF SUPERIOR COURT
                                                                                        GWINNETT COUNTY, GEORGIA
                                                                                                  21-A-00667-8
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                                                                                         CLERK OF SUPERIOR COURT




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                    Case 1:21-cv-00856-AT Document 1-1 Filed 03/01/21 Page 45 of 46
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                                                                                         GWINNETT COUNTY. GEORG
                                                                                                   21-A-00667-
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                            IN THE SUPERIOR COURT OF GWINNETT CO
                                         STATE OF GEORGIA
               THE CITY OF ROSWELL,                        )
               GEORGIA,                                    )
                                                           )
                        Plaintiff,                         )      CIVIL ACTION FILE
                                                                        21-A-00667-8
                                                           )
               v.                                                 NO.
                                                           )
               ARGONAUT GREAT CENTRAL                      )
               INSURANCE COMPANY AND                       )
               COLONY SPECIALTY INSURANCE                  )      JURY TRIAL DEMANDED
               COMPANY,                                    )
                                                           )
                        Defendant.                         )

                                                  IPROPSftBSt
                                                     ORDER
                        The Court has considered Plaintiffs Motion for Appointment of a Special

              Process Server, and it appearing appropriate, just, and equitable, it is ORDERED

              that Amy Ferrero, Christine O’Leary, and/or Katherine Bolling, who are agents of

              Legal Ease Attorney Services, Inc., who are citizens of the United States, eighteen

              years of age or older, and who are not interested parties in the above-captioned

              matter, are hereby appointed special agents for service of a Summons and
              Complaint, in this case upon the Defendants.
                                                         1/29/2021
                        SO ORDERED this         day of                   , 2021.



                                                      Judge
                                                      Gwinnett County Superior Court




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                        Case 1:21-cv-00856-AT Document 1-1 Filed 03/01/21 Page 46 of 46




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